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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



 CHEVRON CORPORATION,

                        Plaintiff,
                                                                 11 Civ. 0691 (LAK)
          v.

 STEVEN DONZIGER et al.,

                        Defendants.



         DEFENDANT DONZIGER’S MOTION FOR DECLARATORY RELIEF
         AND MOTION TO DISMISS PLAINTIFF’S APPLICATION TO HOLD
            DONZIGER IN CONTEMPT FOR “PROFITING” FROM THE
                ECUADORIAN ENVIRONMENTAL JUDGMENT

       Defendant Steven Donziger hereby moves the Court pursuant to 28 U.S.C. § 2201 and

FRCP Rule 57 for declaratory relief confirming that the Court’s March 4, 2014 judgment (Dkt.

1875) (“NY Judgment”), as interpreted and limited in the Court’s subsequent order dated April 25,

2014 (Dkt. 1901) (“Clarification Order”) (together the “NY Judgment”), does not prevent the

beneficiaries of the Ecuadorian environmental judgment affirmed by Ecuador’s Supreme Court

(the “Lago Agrio Judgment” or “Ecuador Judgment”) from raising funds to cover litigation fees

and expenses, at minimum so long as the specific legal interests of the three individual defendants

named in the NY Judgment are not pledged or collateralized as part of any such fund-raising. In

light of this already-established understanding of the scope, which was relied on by the Second

Circuit in its affirmance of this Court’s final opinion in the case (Dkt. 1874) (“RICO Opinion”),

Mr. Donziger also hereby moves pursuant to Rule 12(b)(6) and (f) to dismiss those claims in

plaintiff Chevron’s Motion for Contempt (“Contempt Motion”) which seek to hold Mr. Donziger
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in contempt for alleged non-compliance with the NY Judgment.

       The foundational legal basis for the Court to grant the relief requested in the Contempt

Motion are the limits imposed on Mr. Donziger (and Mssrs. Camacho and Piaguaje) by the NY

Judgment. The NY Judgment, however, does not prevent Mr. Donziger from providing legal

representation and other services to the beneficiaries of the Ecuadorian Judgment, who are

prosecuting its enforcement in non-U.S. jurisdictions. To that end, the NY Judgment expressly

does not prevent Mr. Donziger from assisting the beneficiaries of the Ecuador Judgment in their

efforts to raise funds to cover legal expenses, debts, and fees (including Mr. Donziger’s own fees)

by means including but not limited to arranging third-party litigation financing predicated on the

grant of an interest in any recovery in such non-U.S. jurisdiction. This is so, first, because any such

financing for expenses is not a “profit” on, nor involves “proceeds” of, the Ecuador Judgment, and

thus is not property “traceable” to the Ecuador Judgment, as this Court has established. See

Clarification Order at 7-8 (distinguishing between contingency fee payments made after a

“collection” on the Ecuador Judgment, which would be subject to the NY Judgment “constructive

trust” and profit/monetization injunction, and retainer fee payments, which would not); infra at

Section I.A. Second, even if the NY Judgment did apply to litigation finance funds, it only would

apply to funds “traceable” or otherwise based on Mr. Donziger’s (or Camacho/Piaguaje’s) specific

interests, in Mr. Donziger’s case his extant contingency interest. So long as the litigation finance

agreements do not involve Mr. Donziger pledging, assigning, committing, or otherwise

collateralizing his specific contingency interest—and Chevron has not even alleged that they do—

the NY Judgment does not have any impact.

       The Contempt Motion not only denies sub silentio Mr. Donziger’s legal rights, but asserts

claims without a plausible factual showing that Mr. Donziger has violated the NY Judgment by



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acting with respect to any “proceeds” on a collection or other recovery, or by profiting or

monetizing his interest in the Ecuador Judgment as part of any third-party litigation funding

arrangement. There is no evidence, suggestion, or even allegation that Mr. Donziger’s specific

legal interest impacted by the NY Judgment has been part of any past or proposed financing

arrangement, nor any common sense reason to think that it would be when that interest is subject

to the NY Judgment while all other interests in the Ecuador judgment (except those of Mr.

Camacho and Mr. Piaguaje) are not. The burden of proof on the Contempt Motion is squarely on

Chevron, and has clearly not been met. Mr. Donziger thus respectfully requests that the Court grant

this motion for declaratory relief and dismissal of the related claims in the Contempt Motion.


                                      I.    Declaratory Relief

       In light of the chilling effect on potential funders and Chevron’s continuous overbearing

and harassing efforts to thwart Mr. Donziger’s exercise of his right to provide effective legal

representation for the beneficiaries of the Ecuador Judgment, it is imperative that the Court grant

the requested declaratory relief. In particular, it is necessary for the Court to declare that the NY

Judgment in no way prevents:

       1. Mr. Donziger or third-parties from exercising their legal rights in non-U.S.

           jurisdictions to obtain enforcement and related recovery on the Ecuador Judgment,

           consistent with the NY Judgment and the Second Circuit’s affirmance thereof;

       2. Mr. Donziger from providing legal and other services including assistance in raising

           funds to cover litigation expenses, debts, and fees, from third-party litigation finance

           investors predicated on an interest in any recovery other than his specific contingency

           interest (or any specific interest that Mssrs. Camacho and Piaguaje may have);

       3. Mr. Donziger from receiving payments out of such third-party litigation finance funds


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           to cover his legal expenses and fees for providing legal and other services, consistent

           with the terms of any such agreement and any applicable law.

       Under 28 U.S.C. § 2201(a), a court may “declare the rights and other legal relations of any

interested party seeking such declaration, whether or not further relief is or could be sought.” In

this Circuit, “federal district courts must entertain declaratory judgment actions when the judgment

‘will serve a useful purpose in clarifying and settling the legal relations in issue’ or ‘when it will

terminate and afford relief from the uncertainty, insecurity, and controversy giving rise to the

proceeding.’” Gonzalez v. J.P. Morgan Chase Bank, N.A., 228 F. Supp. 3d 277, 286 (S.D.N.Y.

2017) (quoting Cont'l Cas. Co. v. Coastal Sav. Bank, 977 F.2d 734, 737 (2d Cir. 1992)).

       In light of the Court’s treatment of the Contempt Motion in its order dated May 16, 2018

on the “first branch” of the Contempt Motion (Dkt. 2006) (First Branch Order), Mr. Donziger

currently faces profound insecurity—and the actual burden of preparing for an evidentiary hearing

which he must litigate pro se and at which he has been called to testify—on the question of whether

the NY Judgment allows for the execution of third-party litigation finance agreements to cover

litigation expenses, including Mr. Donziger’s own fees. Critically, this is a pure question of law,

determinable by interpretation of the language of the NY Judgment itself. An evidentiary hearing

is entirely unnecessary and inappropriate.

       That the scope of the NY Judgment is a pure question of law already been decided and is

law of the case. Infra Section I.A. This limited scope completely resolves the relevant claims in

the Contempt Motion, rendering them subject to dismissal for failure to state a claim. Infra at

Section II. To remove the “uncertainty, insecurity, and controversy” the Court created by failing

to acknowledge the limited scope of the NY Judgment in its First Branch Order, the Court should

articulately address that scope as a matter of law, and should issue declaratory relief sufficient to



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confirm the interpretation established by the Clarification Order, and relied on by the Second

Circuit, viz. that the NY Judgment does “not prevent Donziger from being paid [non-contingency

fees for legal and other work], just as he has been paid . . . over the past nine or ten years,” nor

“prevent[] the [Lago Agrio Plaintiffs] (other than the two LAP Representatives who are named in

the NY Judgment) and their allies from continuing to raise money in the same fashion” as prior

litigation finance efforts well-known to the Court. Clarification Order at 7-8, 12.

       Because the scope of the NY Judgment was carefully articulated by the Court in the

Clarification Order, that limited scope is law of the case. See, e.g., United States v. Quintieri, 306

F.3d 1217, 1225 (2d Cir. 2002) (“when a court has ruled on an issue, that decision should generally

be adhered to by that court in subsequent stages in the same case” unless “cogent and compelling

reasons militate otherwise”); see also Tomasino v. Estee Lauder Companies, Inc., 2015 WL

1470177, at *1 (E.D.N.Y. Mar. 31, 2015) (“The law of the case doctrine is usually considered to

have two branches. The first—the so-called mandate rule—requires trial courts to follow an

appellate court’s ruling on an issue in the same case. The second branch is more flexible but

generally holds that a court should adhere to its earlier decisions in subsequent stages of litigation

unless compelling reasons counsel otherwise.”) (internal citations omitted; citing Quintieri). In

fact, the Court’s interpretations as set out in the Clarification Order are now law of the case under

both “branches” of the doctrine, because the Second Circuit expressly relied on the limited scope

of the NY Judgment in its affirmance of the Court’s RICO Opinion. See infra Section I.B. The

Clarification Order is thus part of the Circuit’s mandate of affirmance and cannot now be disturbed.

See, e.g., In re FCC, 217 F.3d 125, 133 (2d Cir. 2000) (“the terms of the mandate [must be]

scrupulously and fully carried out and [] the inferior court’s actions on remand [must] not [be]

inconsistent with either the express terms or the spirit of the mandate.”); cf. In re MidAmerican



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Energy Co., 286 F.3d 483, 487 (8th Cir. 2002) (an appellate court’s mandate “encompasses

everything decided, either expressly or by necessary implication” on appeal).


   A. The Court already has unambiguously concluded that the NY Judgment does not
      preclude pre-collection arrangements to finance litigation expenses, or
      arrangements that do not involve the specific interests of Mr. Donziger, Mr.
      Camacho, or Mr. Piaguaje

       In the NY Judgment, the Court imposed a constructive trust over all property “that

Donziger has received, or hereafter may receive,” or “that [Camacho or Piaguaje], or each of them,

has received, or hereafter may receive,” “that is traceable to the [Environmental] Judgment or the

enforcement of the Judgment.” NY Judgment at ¶¶ 1-2 (emphasis added). In the Clarification

Order, the Court interpreted the scope of what property would be considered “traceable” in the

context of Mr. Donziger’s concern that the NY Judgment arguably prevented him from getting

paid for his work on the case out of funds provided by litigation finance agreements. The Court

concluded that while

               payments of a Contingent Fee would be ‘traceable to the [Lago
               Agrio] Judgment,’ and thus subject to the constructive trust imposed
               by paragraph 1, the same would not be true of Monthly Retainer
               payments unless those payments were traceable to the Lago Agrio
               Judgment. Thus, at least as long as no collections are made in
               respect of the Lago Agrio Judgment and funneled to Donziger as
               retainer payments, the NY Judgment would not prevent Donziger
               from being paid, just as he has been paid at least $958,000 and likely
               considerably more over the past nine or ten years.

Clarification Order at 7-8 (emphasis added). As indicated, the Court was very familiar with the

litigation finance agreements that had been used in prior years to cover litigation expenses,

including Mr. Donziger’s legal fees, and which it endorsed in the foregoing paragraph. The Court

similarly addressed Mr. Donziger’s concern that Paragraph 5 of the NY Judgment, which enjoins

“any acts to monetize or profit from the [Lago Agrio] Judgment,” could be interpreted as

preventing him from getting paid out of litigation finance arrangements, and unequivocally held

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that any such interpretation was “wrong.” Clarification Order at 10. In response, the Court

explained, “[t]he point of paragraph 5 . . . was to prevent Donziger and the LAP Representatives

from avoiding the effect of the constructive trust imposed on assets in their hands that otherwise

would have been direct proceeds of the Judgment by selling, assigning, or borrowing on their

interests in the Lago Agrio Judgment and thus at least confusing the issue of traceability.” Id.

(emphasis original). With this clarification, the Court limited the scope of Paragraph 5 on two

levels. First, it only applies as a backup or support provision to effectuate the constructive trust,

and thus is correspondingly limited by the limited scope of the constructive trust, i.e. to property

received as “proceeds” on a “collection” on the Lago Agrio Judgment. Second, with its emphasis,

the Court noted that the injunction would only apply to enjoin the treatment of interests specific to

the three individual defendants—“their interests”—leaving any and all other interests on the Lago

Agrio Judgment free to be leveraged for litigation finance purposes.

       Indeed, beyond payments of fees, defendants had more broadly expressed concern that the

NY Judgment would prevent the execution of financing arrangements necessary to fund their

appeal and pursue enforcement of the Lago Agrio Judgment in Canada and elsewhere, noting that

Chevron had even “boast[ed]” that the NY Judgment would have precisely such an effect. See,

e.g., Dkts. 1898 at 2, 6, and 1893 at 20-21; Dkt. 1988 at 10 n.5. The Court dismissed such concerns

as so unfounded as to “border on the irresponsible.” Clarification Order at 11. Rather, the Court

held that there was “no[] show[ing] that the provision of the NY Judgment preventing [defendants]

from monetizing any interest they may have in the Lago Agrio Judgment threatens them with

irreparable injury, either by preventing them from appealing here or in any other way.” Id. at 14.

       On the basis of this unambiguous language, Mr. Donziger and others have proceeded to

raise funds from investors to cover litigation expenses and fees, in return for grants of interests in



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any recovery in a non-U.S. jurisdiction. There is no basis to support even the supposition—and

Chevron makes no evidentiary showing whatsoever—that these agreements have been supported

or collateralized in any way by interests specific to Mr. Donziger (or Camacho or Piaguaje). The

NY Judgment itself renders such a proposition impracticable. And the evidentiary burden on

Chevron’s Contempt Motion is entirely Chevron’s. Despite its attempt to dress the Contempt

Motion in evidence such as the Declaration of Lee Grinburg, Chevron (and Grinburg) have failed

to even allege, let alone substantiate with evidence, that the specific interests of Mr. Donziger, and

Mssrs. Piaguaje and Camachohave played any role in any actual or proposed litigation finance

agreements. Accordingly, the conjoined motion to dismiss the relevant allegations in Chevron’s

Contempt Motion is appropriate. Infra at Section II.


   B. The Second Circuit relied on the limited scope and effect of the NY Judgment in its
      affirmance of the Court’s RICO Decision such that modification of that scope now
      would disturb the Circuit’s mandate

       It is important to note that the Court’s conclusions regarding the scope and application of

Paragraphs 1-2 and 5 of the NY Judgment, as set out in the Clarification Order, are also subject to

the “mandate rule” of the law of the case doctrine. See Tomasino, supra. The Second Circuit’s

affirmance of this Court’s RICO Opinion was expressly and repeatedly predicated on the fact that

“[t]he relief tailored by [this Court] . . . does not invalidate the Ecuadorian judgment and does not

prohibit any of the LAPs from seeking enforcement of that judgment anywhere outside of the

United States.” Chevron Corporation v. Donziger, 833 F.3d 74, 151 (2016). See also id. at 81

(“For the reasons that follow, including . . . the district court’s confinement of its injunction to a

grant of in personam relief against the three defendants-appellants without disturbing the

Ecuadorian judgment, we find no basis for dismissal or reversal, and we affirm the judgment of

the district court.) (emphasis added); id. at 119 (“The district court pointed out that its final


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judgment would merely ‘prevent Donziger and the LAP Representatives from profiting from the

[Lago Agrio] Judgment or seeking to enforce it in this country,’ i.e., the judgment ‘prevents the

three defendants who appeared at trial—over whom [the district court] has personal

jurisdiction—from profiting from their fraud’”) (internal citations omitted) (emphasis original to

the Second Circuit); id. at 143 (“the injunction in the District Court Judgment is directed at only

three persons”) (emphasis added); id. at 144 (the district court granted only “limited, non-global

equitable relief”); id. at 145 (the district court only “granted equitable in personam relief that does

not invalidate the Ecuadorian judgment”) (emphasis added); id. at 151 (“we see no abuse of

discretion in the equitable in personam relief granted by the district court”).

       In their post-judgment emergency relief, the three defendants articulated the concern that

the language swept far beyond this “confined” interpretation, specifically that by shutting down

the ability to raise funds to cover litigation expenses, the NY Judgment would indeed “disturb[]”

and effectively “invalidate” the Ecuadorian Judgment. See Dkts. 1888 at 10, 1898 at 2, 6. Had they

not received the Court’s ruling that the NY Judgment did no such thing, Mr. Donziger and the

Ecuadorian defendants would have advanced these arguments about the sweeping practical effect

of the NY Judgment on appeal, and the Second Circuit would not have been able to rely on

“confine[d]” nature of the NY Judgment as it did. Were this Court to reverse course on its

interpretation of the NY Judgment now, in post-judgment proceedings on remand, it would

undermine a premise foundational to the decision preserved in the Second Circuit’s mandate of

affirmance, and thus run flagrantly afoul of the standing rule that a district court’s “actions on

remand [must] not [be] inconsistent with either the express terms or the spirit of the mandate.” In

re FCC, supra, 217 F.3d at 133; cf. In re MidAmerican Energy Co., supra, 286 F.3d at 487 (an

appellate court’s mandate “encompasses everything decided, either expressly or by necessary



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implication” on appeal).

        The Court cannot and should not alter the law of the case and upset the appellate mandate.

Were it to do so, appellate response on a writ of mandamus would be necessary. See, e.g., In re

Cont’l Ill. Sec. Litig., 985 F.2d 867, 869 (7th Cir. 1993) (“One of the less controversial functions

of mandamus is to assure that a lower court complies with the spirit as well as the letter of the

mandate issued to that court by a higher court.”).


                                      II.    Motion to Dismiss

        Under the familiar pleading standards, a party asserting a claim for relief in federal court

must provide “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). That is, “factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). While the court will “accept as true all factual statements alleged in the

complaint and draw all reasonable inferences in favor of the non-moving party,” McCarthy v. Dun

& Bradstreet Corp., 482 F.3d 184, 191 (2d Cir. 2007), this principle is this “inapplicable to legal

conclusions” and “mere conclusory statements.” Iqbal, 556 U.S. at 678. The facts accepted as true

are only those facts “asserted within the four corners of the complaint, the documents attached to

the complaint as exhibits, and any documents incorporated in the complaint by reference.”

McCarthy, supra at 191. Moreover, where the claim sounds in fraud or deception, it must meet the

heightened pleading standards of Fed. R. Civ. P. 9(b) requiring the plaintiff to “(1) specify the

statements that the plaintiff contends were fraudulent, (2) identify the speaker, (3) state where and

when the statements were made, and (4) explain why the statements were fraudulent.” United

States ex rel. Ladas v. Exelis, Inc., 824 F.3d 16, 25 (2d Cir. 2016) (quoting Shields v. Citytrust

Bancorp., Inc., 25 F.3d 1124, 1128 (2d Cir. 1994)).


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       With reference to the proper scope of the RICO Judgment as described in the Clarification

Order, supra, Chevron’s non-compliance contempt claims should be dismissed because they fail

to allege the existence of any collection or other recovery from the Ecuadorian judgment (and of

course, there has been no such collection as yet), and thus cannot legitimately claim that either the

constructive trust provisions of Paragraphs 1-2 or the monetization provisions of Paragraph 5 of

the RICO Judgment even apply. (In its First Branch Order, the Court appears to have recognized

the insufficiency of any claim of non-compliance with Paragraphs 1-2 and simply ignored that part

of the Contempt Motion.) The Contempt Motion is also devoid of any allegation of fund-raising

designed to “avoid[] the effect of the constructive trust imposed on assets in their hands that

otherwise would have been direct proceeds of the Judgment,” i.e. on funds from a “collections

. . . made in respect of the Lago Agrio Judgment,” which is what Paragraph 5 of the NY Judgment

was drafted to enjoin. See supra.

       To the extent there exists a question as to whether Paragraph 5 potentially applies to

investment funds for litigation expenses received prior to any collection or other recovery,

Paragraph 5 nonetheless can only apply to the specific interests of Mr. Donziger, Mr. Camacho,

or Mr.Piaguaje. Supra. As long as any expense funding does not specifically assign, commit, or

otherwise leverage interests specific to those three individuals, there is no violation of Paragraph

5. Supra. Both the Contempt Motion and the attached Declaration of Lee Grinburg fail entirely to

allege the critical fact that any interest specific to these three individuals was ever even suggested

as part of any proposed funding arrangement. And there is no factual allegation that any prior

agreements involved interests specific to the three. The Court does not need a hearing to confirm

that Chevron did not just somehow overlook this critical fact. In light of the Clarification Order, it

is the only critical fact. If Grinburg could provide even a hint or suggestion that Mr. Donziger’s



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particular interest was being monetized, that obviously would have been showcased in both his

declaration and the larger contempt motion. Indeed, Chevron does not even bother to make a

“conclusory statement,” Iqbal, 556 U.S. at 678, in this regard; rather, the Contempt Motion relies

entirely on the false presumption that any monetization of any interest is in violation of the RICO

Judgment. Because that assertion is contrary to the law of the case and the Contempt Motion lacks

any factual content suggesting the involvement of the specific interests of Mr. Donziger, Mr.

Camacho, or Mr. Piaguaje in any funding arrangement, Chevron’s claims for non-compliance with

Paragraph 5 are frivolous and must be dismissed.


                                           Conclusion

       For the foregoing reasons, Mr. Donziger requests that this Court issue declaratory relief

sufficient to confirm the interpretations of NY Judgment established by the Clarification Order,

and relied on by the Second Circuit, specifically that the constructive trust articulated in the NY

Judgment does not apply to funds obtained to cover litigation expenses and fees prior to a

“collection” or other recovery of “proceeds” on the Ecuadorian Judgment, and further that the

Court dismiss the remainder of the Contempt Motion as a matter of law.

 DATED:         May 31, 2018                   Respectfully submitted,

                                               s/ Steven R. Donziger
                                               Steven R. Donziger
                                               245 W. 104th Street, #7D
                                               New York, NY 10025
                                               Tel: (917) 678-3943
                                               Fax: (212) 409-8628
                                               Email: sdonziger@donzigerandassociates.com

                                               Pro se
                                               Counsel to Donziger & Associates, PLLC, and
                                               the Law Offices of Steven R. Donziger




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